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                           UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA


i   UNITED STATES OF AMERICA,                   CASE NO. 12CR4856-W

                           Plaintiff,
                   vs.                          JUDGMENT OF DISMISSAL
    EDWIN SAUCEDO-MORENO (I),

                           Defendant.


              IT APPEARING that the defendant is now entitled to be discharged
    for the reason that:

    __
     X__ an indictment has been filed in another case against the defendant and
         the Court has granted the motion of the Government for dismissal of
         this case, without prejudice; or

         the Court has dismissed the case for unnecessary delay; or

         the Court has granted the motion of the Government for dismissal,
         without prejudice; or

         the Court has granted the motion of the defendant                   a judgment of
         acquittal; or

         a jury has been waived, and the Court has found the defendant not
         guilty; or

         the jury has returned          ve     ct, finding the defendant not guilty;

    __
     X__ of the offense(s) as charged ln the In           rmation:

         8 U.S.C. 1324 (a) (2) (B) (iii); 18 U.S.C. 2 - Bringing in Illegal Aliens

         Without Presentation and Aiding and Abetting

               IT IS THEREFORE ADJUDGED that the defendant              hereby discharged.


     DATED: 12/17/12
                                                 Thomas J.
                                                           "-
                                                 U.S. District Judge
